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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA,
                                                                       MEMORANDUM & ORDER

         v.                                                            03-CR-929 (NGG)

 VINCENT BASCIANO and
 PATRICK DEFILIPPO,

                            Defendants.
 ---------------------------------------------------------X
 GARAUFIS, United States District Judge.

         This Memorandum & Order (M&O) addresses a number of issues raised by counsel for

 the United States (“Government”) and defendants Vincent Basciano (“Basciano”) and Patrick

 DeFilippo (“DeFilippo”) during the trial on April 19, 2006 and by letters filed April 20, 2006.

 Familiarity with the facts of this case and all prior rulings is presumed.

 Impeachment Witness

         Basciano seeks to call Ms. Cicale as a witness to impeach the testimony of cooperating

 witness Dominick Cicale (Ms. Cicale’s grandson). The purpose of the testimony is to provide

 evidence in direct contradiction to testimony on direct and cross-examination that Dominick

 Cicale provided as to financial matters involving his grandmother’s home, including whether he

 paid property taxes and whether he had her consent to take out a mortgage. (Trial Transcript at

 8948-50). Within the Second Circuit, “extrinsic evidence offered for impeachment on a

 collateral issue is properly excluded.” United States v. Purdy, 144 F.3d 241, 245-46 (2d Cir.

 1998). Nonetheless, at trial, Basciano’s counsel cited to an evidence horn book for an exception

 to the bar on extrinsic evidence when the factual predicate for the extrinsic evidence is a crime of



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 dishonesty or false statement that could lead to conviction under Rule 609(a)(2). (Trial

 Transcript at 8983-84.) The court gave both parties until 9:00 a.m. this morning to brief this

 issue. (Id. at 8982-83.) Only the Government filed a letter. (Gov’t Ltr #1 dated April 20, 2006.)

 The court could find no example of that exception being used in the Second Circuit. I therefore

 exclude the testimony of Ms. Cicale and Special Agent Edward Tarasca.

 Supplement to M&O dated April 19, 2006

        The court notes that if F.B.I. Special Agents are asked extensively about the number of

 meetings and proffer sessions held with Joseph Massino, I may reconsider my prior ruling

 excluding non-charged acts from any evidence the Government seeks to offer in its rebuttal case.

 If the Government needs to explain the number of proffer sessions with Joseph Massino by, for

 example asking Massino questions about un-charged acts, it may be allowed to do so.

 Government’s April 20, 2006 Letter

        The Government submitted a letter at 8:00 a.m. today asking primarily for a

 reconsideration of the reconsideration I denied last night. (See Gov’t Ltr #2 dated Apr. 20, 2006

 at 2-5.) I note that no new law was presented and that I have already considered the

 Government’s arguments. To continue to litigate this issue is a waste of the Government’s time

 and resources as well as the court’s. Neither side may question F.B.I. agents as to the content of

 the meetings with Massino.

        The Government also requests the opportunity to cross-examine agents as to non-hearsay

 facts that do not involve the content of the meetings. (Id. at 1.) Although Basciano has not had

 an opportunity to respond to this particular issue, I note that the two questions the Government

 seeks to ask (that notes and FBI-302s were generated; and that materials were turned over to the


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 defense) appear not to be barred on hearsay grounds. To the extent that the questions are

 improper for other reasons, I will entertain non-speaking objections during the cross-

 examination.



 SO ORDERED.


                                                       __/s/___________________
 Dated: April 20, 2006                                 Nicholas G. Garaufis
 Brooklyn, N.Y.                                        United States District Judge




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